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                 UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                                  THURGOOD MARSHALL UNITED STATES COURTHOUSE
                                               40 FOLEY SQUARE
                                              NEW YORK, NY 10007
                                                   212-857-8500




                                   NOTICE OF APPEARANCE INSTRUCTIONS
                             FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL

                     The Notice of Appearance for Substitute, Additional, or Amicus Counsel form requires
              counsel to provide contact information. It also requires counsel to certify that they have been
              admitted to this Court and have complied with all rules regarding admission renewal or that
              they have applied for admission to this Court. In accordance with Local Rule 12.3(b), each
              attorney acting as substitution or amicus counsel or any attorney other than lead counsel of
              record wishing to enter the case must file a separate notice of appearance.

                      Counsel must be admitted to the bar of this Court or be otherwise eligible to argue an
              appeal. The Court requires written pro h ac vice motions filed before filing the notice of
              appearance. Admission pro hac vice will be extended as a matter of course to a member of the
              bar of a district court within the circuit who has represented a criminal defendant at trial and
              continues representation on an appeal taken pursuant to the Criminal Justice Act. See Local
              Rule 46.1(d)(1). Counsel, however, are encouraged to apply for general admission to this Court
              as soon as they meet the qualifications.

                     An attorney who does not immediately notify the Court when contact information
              changes will not receive notices, documents and orders filed in the case. Counsel must notify
              the Court of a change to the user’s mailing address, business address, telephone number, or e-
              mail. To update contact information, a Filing User must access PACER’s Manage My
              Appellate Filer Account, https://www.pacer.gov/psco/cgi-bin/cmecf/ea-login.pl. The Court’s
              records will be updated within 1 business day of a user entering the change in PACER.

                    For information concerning attorney admissions and renewals, visit the court’s website
              at www.ca2.uscourts.gov or contact Admissions in the Clerk’s Office at 212-857-8603 or 212-857-
              8640.
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                         NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


       Short Title: People of the State of New York v. Trump                 _____             Docket No.: 24-2299 ________

       Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

       Name: Michael S. Raab

       Firm: U.S. Department of Justice, Civil Division, Appellate Staff

       Address: 950 Pennsylvania Avenue, NW, Room 7237, Washington, DC 20530

       Telephone: (202) 514-4053
                            ___________________________               Fax:

       E-mail: michael.raab@usdoj.gov

       Appearance for: amicus curiae the United States of America
                                                      (party/designation)
       Select One:
       G Substitute counsel (replacing lead counsel:                                                                      )
                                                      (name/firm)

       G Substitute counsel (replacing other counsel:                        _______                                      )
                                                               (name/firm)

       G Additional counsel (co-counsel with:                                                                             )
                                                               (name/firm)

      G Amicus (in support of: Appellant
      ✔                                                                                                                   )
                                                               (party/designation)


                                                         CERTIFICATION
       I certify that:

      ✔
      G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

       my admission on September 18, 2024                                                                               OR

       G I applied for admission on                                                                                       .


       Signature of Counsel: /s/ Michael S. Raab

       Type or Print Name: Michael S. Raab
